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[30132] [Adversary Order of Dismissal]

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

In re: Case No. 6—08—bk—10159
Chapter 7
Land Resources, LLC et al

Debtor(s) l

Adv. No. 6:09-ap—00902-JAF

Herschel Allen, et al.
Plaintiff(s) [

vs.

and Resource Group of North Carolina, LLC, et
a

cross claimant
LR Buffalo Creek, LLC
Leigh R. Meininger
Defendant(s) l

ORDER OF DISMISSAL

On April 11, 2011 and July 7, 2011 , the Court notified interested parties of its intent to dismiss this proceeding for
want of prosecution and gave the parties time to object. A timely objection has not been filed. This proceeding is
dismissed without prejudice for want of prosecution.

DATED on August 4, 2011. S (; L |

Jerry A. Funk
United States Bankruptcy Judge

Copies furnished to:
Plaintiff's Attorney
Defendant’s Attorney
